                                     Exhibit 2

                  Notice of Motion and Opportunity to Object




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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN

                                                                 )
In re                                                            ) Chapter 9
                                                                 )
CITY OF DETROIT, MICHIGAN,                                       ) Case No. 13-53846
                                                                 )
                                    Debtor.                      ) Hon. Steven W. Rhodes
                                                                 )

        NOTICE OF JOINT MOTION OF SYNCORA AND THE CITY OF
            DETROIT FOR ADJOURNMENT OF THE HEARING

       PLEASE TAKE NOTICE that on September 9, 2014, Syncora Guarantee
Inc., Syncora Capital Assurance Inc. and the City of Detroit (collectively, “Syncora
and the City”) filed the Joint Motion of Syncora and the City of Detroit for
Adjournment of the Hearing in the United States Bankruptcy Court for the Eastern
District of Michigan (the “Bankruptcy Court”) to adjourn the hearing on the City’s
Plan of Adjustment (“Motion to Adjourn”) until 8:30 a.m. ET on September 12,
2014.

      PLEASE TAKE FURTHER NOTICE that your rights may be affected
by the relief sought in the Motion. You should read these papers carefully
and discuss them with your attorney, if you have one. If you do not have an
attorney, you may wish to consult one.
       PLEASE TAKE FURTHER NOTICE that if you do not want the
Bankruptcy Court to grant the Objectors’ Motion or you want the Bankruptcy
Court to consider your views on the Motion, by September 24, 20141, you or your
attorney must:




1
      Concurrently herewith, Syncora and the City are seeking expedited consideration and shortened notice of the
      Motion. If the Court grants such expedited consideration and shortened notice, Syncora and the City will file
      and serve notice of the new response deadline.



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      File with the Bankruptcy Court a written response to the Motion, explaining
your position, electronically through the Bankruptcy Court’s electronic case filing
system in accordance with the Local Rules of the Bankruptcy Court or by mailing
any objection or response to:2

                                     United States Bankruptcy Court
                                      Theodore Levin Courthouse
                                       231 West Lafayette Street
                                           Detroit, MI 48226

                You must also serve a copy of any objection or response upon:

                                       James H.M. Sprayregen, P.C.
                                           Ryan Blaine Bennett
                                            Stephen C. Hackney
                                        KIRKLAND & ELLIS LLP
                                             300 North LaSalle
                                          Chicago, Illinois 60654
                                        Telephone: (312) 862-2000
                                        Facsimile: (312) 862-2200
                                                       - and -
                                            Stephen M. Gross
                                             David A. Agay
                                             Joshua Gadharf
                                      MCDONALD HOPKINS PLC
                                        39533 Woodward Avenue
                                       Bloomfield Hills, MI 48304
                                       Telephone: (248) 646-5070
                                       Facsimile: (248) 646-5075
                                                       - and -
                                             David G. Heiman
                                              Heather Lennox
                                               JONES DAY
                                                North Point
                                           901 Lakeside Avenue
                                           Cleveland, Ohio 44114
2
      A response must comply with F. R. Civ. P. 8(b), (c) and (e).

                                                           2

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                              Telephone: (216) 586-3939
                              Facsimile: (216) 579-0212
                                        - and -
                                Thomas F. Cullen, Jr.
                                Gregory M. Shumaker
                                 Geoffrey S. Stewart
                                    JONES DAY
                               51 Louisiana Ave., N.W.
                               Washington, D.C. 20001
                              Telephone: (202) 879-3939
                              Facsimile: (202) 626-1700
                                        - and -
                                  Robert S. Hertzberg
                                Deborah Kovsky-Apap
                              PEPPER HAMILTON LLP
                             4000 Town Center, Suite 1800
                              Southfield, Michigan 48075
                              Telephone: (248) 359-7300
                               Facsimile: (248) 359-7700

       If an objection or response is timely filed and served, the clerk will schedule
a hearing on the Motion and you will be served with a notice of the date, time and
location of the hearing.

      PLEASE TAKE FURTHER NOTICE that if you or your attorney do
not take these steps, the court may decide that you do not oppose the relief
sought in the Motion and may enter an order granting such relief.




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Dated: September 9, 2014               Respectfully submitted,

                                       KIRKLAND & ELLIS LLP

                                       By: /s/ Ryan Blaine Bennett
                                       James H.M. Sprayregen, P.C.
                                       Ryan Blaine Bennett
                                       Stephen C. Hackney
                                       KIRKLAND & ELLIS LLP
                                       300 North LaSalle
                                       Chicago, Illinois 60654
                                       Telephone: (312) 862-2000
                                       Facsimile: (312) 862-2200
                                               - and -
                                       Stephen M. Gross
                                       David A. Agay
                                       Joshua Gadharf
                                       MCDONALD HOPKINS PLC
                                       39533 Woodward Avenue
                                       Bloomfield Hills, MI 48304
                                       Telephone: (248) 646-5070
                                       Facsimile: (248) 646-5075

                                       Attorneys for Syncora Guarantee Inc. and
                                       Syncora Capital Assurance Inc.

                                       /s/ Thomas F. Cullen
                                       David G. Heiman (OH 0038271)
                                       Heather Lennox (OH 0059649)
                                       JONES DAY
                                       North Point
                                       901 Lakeside Avenue
                                       Cleveland, Ohio 44114
                                       Telephone: (216) 586-3939
                                       Facsimile: (216) 579-0212
                                       dgheiman@jonesday.com
                                       hlennox@jonesday.com
                                       Bruce Bennett (CA 105430)


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                                       JONES DAY
                                       555 South Flower Street
                                       Fiftieth Floor
                                       Los Angeles, California 90071
                                       Telephone: (213) 243-2382
                                       Facsimile: (213) 243-2539
                                       bbennett@jonesday.com

                                       Thomas F. Cullen, Jr. (DC 224733)
                                       Gregory M. Shumaker (DC 416537)
                                       Geoffrey S. Stewart (DC 287979)
                                       JONES DAY
                                       51 Louisiana Ave., N.W.
                                       Washington, D.C. 20001
                                       Telephone: (202) 879-3939
                                       Facsimile: (202) 626-1700
                                       tfcullen@jonesday.com
                                       gshumaker@jonesday.com
                                       gstewart@jonesday.com

                                       Robert S. Hertzberg (P30261)
                                       Deborah Kovsky-Apap (P68258)
                                       PEPPER HAMILTON LLP
                                       4000 Town Center, Suite 1800
                                       Southfield, Michigan 48075
                                       Telephone: (248) 359-7300
                                       Facsimile: (248) 359-7700
                                       hertzbergr@pepperlaw.com
                                       kovskyd@pepperlaw.com

                                       Attorneys for the City of Detroit




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